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                                  In the United States District Court
                                  for the Eastern District of Virginia
                                          Newport News Division

Christian Parks,
                                                                                      FILED
                                                 Plaintiff.

         v.
                                                                                    MAR 1 3 2014
The    Members     of the    State       Board     of the
Virginia Community College System—Bruce                                        CLERK, US DIsmiCT COURT
J. Meyer, Dorcas Helfant-Browning,                                                 Nt-WPOHl NFV'S VA

Benita Thompson Byas, Darren Conner,
James Cuthbertson, LaVonne Ellis,
Idalia Fernandez. Robert R. Fountain,
Stephen Gannon, Sasha Gong, Mirta M.
Martin,      David      Nutter,      Robin
Sullenberger, Mike Thomas, Michel
ZAJUR, all in their official and individual
capacities; Glenn DuBois, Chancellor of the
Virginia Community College System, in his
official and individual capacities: John T.
Dever,        President     of     Thomas          Nelson     Case No.    H\(V30
Community        College,    in his       official     and
individual capacities; Daniel Lufkin, Vice
President of Student Affairs at Thomas Nelson
Community College, in his official and
individual capacities; Vicki RICHMOND,
Associate Vice President of Student Affairs for
Thomas Nelson Community College, in her
official and individual capacities; Kadisia
Archer, Coordinator of Student Activities at
Thomas Nelson Community College, in her
official and individual capacities; KELVIN
Maxwell, Chief of Campus Police at Thomas
Nelson Community College, in his official and
individual capacities; and Frank Johnson,
law enforcement officer at Thomas Nelson
Community College,           in    his    official     and
individual capacities.

                                           Defendants.

                                             Verified Complaint


      Plaintiff Christian Parks, by and through counsel, and for his Complaint against Defendants.
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hereby states as follows:
                                         Introduction


    1.   The cornerstone of higher education is the ability of students to participate in the

"marketplace of ideas" on campus. That marketplace depends on free and vigorous debate and

expression between students—debate and expression that is spontaneous, ubiquitous, and often

anonymous—and is carried out through spoken word, flyers, signs, and displays.

   2.     By policy and practice, Thomas Nelson Community College (TNCC) and the Virginia

Community College System (VCCS) claim the unchecked right to restrict the free speech rights

of students and to regulate the location of student expression and assembly on campus. TNCC—

implementing VCCS policies—requires students to obtain administrative permission to speak in

the outdoor venues of campus four days in advance, and it then gives administrators unbridled

discretion in assigning locations where students may speak. Through the permitting process,
TNCC retains unfettered discretion to detennine both whether students may speak at all and

where they may speak. In so doing, it fails to protect students against content and viewpoint
discrimination. These policies and practices—from both TNCC and VCCS—chill protected
student speech and disable spontaneous and anonymous student speech on campus.

   3.     When Plaintiff Christian Parks, a student at TNCC, sought to preach and discuss his
religious views in an open, outdoor plaza on campus, TNCC officials required him to stop in part
because his speech might offend someone and later told him that he would have to notify TNCC
officials at least four days before he wished to speak and that he mustjoin a student organization
in order to submit this notification.

   4.     Defendants took these actions because of the content and viewpoint of Mr. Parks'
expression, because they feared his expression would prompt complaints, and because they
wanted to pacify those who might be offended by his expression. In taking these actions, they
implemented the challenged VCCS and TNCC policies, violated Mr. Parks' constitutional rights,
and inflicted irreparable injury upon him.

   5.    This action is premised on the United States Constitution and concerns the denial of
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Mr. Park's fundamental rights to free speech, free exercise of religion, due process, and equal

protection of law.

   6.     The aforementioned policies and practices are challenged on their face and as applied to

Mr. Parks.

   7.      Defendants' policies and practices have deprived and will continue to deprive Mr.

Parks of his paramount rights and guarantees under the United States Constitution.

   8.      Each and every act of Defendants alleged herein was committed by Defendants, each

and every one of them, under the color of state law and authority.

                                      Jurisdiction & Venue


   9.      This civil rights action raises federal questions under the United States Constitution,

particularly the First and Fourteenth Amendments, and the Civil Rights Act of 1871, 42 U.S.C.

§ 1983.

    10. This Court has original jurisdiction over these federal claims pursuant to 28 U.S.C.

§§ 1331 and 1343.

    11. This Court has authority to award the requested damages pursuant to 28 U.S.C. § 1343;

the requested declaratory relief pursuant to 28 U.S.C. §§ 2201-02; the requested injunctive relief

pursuant to 28 U.S.C. § 1343 and Fed. R. Civ. P. 65; and costs and attorneys fees under 42

U.S.C. § 1988.

    12. This Court has supplemental jurisdiction over the state law claims made herein

pursuant to 28 U.S.C. § 1367.

    13.    Venue is proper in this district and division pursuant to 28 U.S.C. § 1391(b) because

Defendants reside in this district and division and/or all of the acts described in this Complaint
occurred in this district and division.


                                            Plaintiff


        14. Christian Parks is a resident of the Commonwealth of Virginia and a student at
TNCC.
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         15.   Mr. Parks is a professing evangelical Christian who strives to live out his faith on a

daily basis.

         16. Mr. Parks' Christian faith governs the way he thinks about marriage, morality,

politics, and social issues, and it causes him to hold sincerely-held religious beliefs in these

areas.


         17. As an evangelical Christian, Mr. Parks believes that the Bible is God's Word and sets

out the plan of salvation for all people. He believes that the Bible teaches that all people are

sinners and therefore deserve God's wrath, but that anyone can receive salvation and eternal life

by believing in Jesus Christ.

         18.   Because of his firmly-held Christian beliefs, Mr. Parks believes it is his duty to

inform others, including members of the TNCC community, for their own benefit, that they have

sinned and need salvation through Jesus Christ. He looks for opportunities to share his beliefs

with his fellow students and community members.

         19. Mr. Parks' message is purely evangelistic in nature. Through personal conversations,

the distribution of religious tracts, and open-air preaching, he communicates in a loving way that

all people (including himself) are sinners and that salvation and eternal life are available only
through Jesus Christ.

         20. Mr. Parks does not seek monetary gain with his expressive activity. He does not try

to sell products or services, seek donations, or solicit signatures. He merely wishes for others to

be exposed to his religious beliefs.

         21. Mr. Parks' expressive activities do not create a disturbance or cause congestion. He
merely wishes to express his religious beliefs peacefully, without being confrontational.

                                             Defendants


    22. Defendants Bruce J. Meyer, Dorcas Helfant-Browning, Benita Thompson Byas, Darren
Conner, James Cuthbertson, LaVonne Ellis, Idalia Fernandez, Robert R. Fountain, Stephen

Gannon, Sasha Gong, Mirta M. Martin, David Nutter, Robin Sullenberger, Mike Thomas, and
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Michel Zajur are, and were at all times relevant to this Complaint, members of the State Board of

the Virginia Community College System (hereafter, "Board Defendants"), a public community

college system organized and existing under the laws of the Commonwealth of Virginia.

   23.   These Board Defendants' duties include, among others, the adoption and authorization

of polices that govern students (including the policies discussed and challenged herein) at all

institutions in the Virginia Community College System (including TNCC) and the oversight of

operation of VCCS.

   24.   The Board Defendants made the decisions to adopt and to continue enforcing VCCS

policies regarding campus demonstrations.

   25.   The Board Defendants are sued in their official and individual capacities.

   26.   Defendant Glenn DuBois is, and was at all times relevant to this Complaint, the

Chancellor of the Virginia Community College System, a public community college system

organized and existing under the laws of the Commonwealth of Virginia.

   27.   As Chancellor, Defendant DuBois is the Chief Executive Officer of the VCCS.

   28.   The Board Defendants delegate to Defendant DuBois the responsibility for final

policymaking authority concerning student free speech activities at TNCC.

   29.   Defendant DuBois is responsible for enactment, amendment, enforcement, execution,

and implementation of all decisions of the Board Defendants and VCCS policies, including the

policies and practices discussed and challenged herein.

   30.   Defendant DuBois possesses the authority and responsibility for coordination and

approval of campus expression by students.

   31.   All changes in VCCS policies concerning student expression on campus are made only

with the prior approval of Defendant DuBois.

   32.   Defendant DuBois has not instructed VCCS personnel to change or alter the policies

and practices governing student expression on campus to comply with constitutional mandates.

   33.   Defendant DuBois is sued in his official and individual capacities.

   34.   Defendant John T. Dever is, and was at all times relevant to this Complaint, the
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President of Thomas Nelson Community College—a public college organized and existing under

the laws of the Commonwealth of Virginia and a constituent institution of the VCCS.

   35.   Defendant Dever's duties include, among others, authorizing, executing, enforcing, and

implementing the policies governing students at TNCC and overseeing the operation and

management of TNCC.

   36.   The Board Defendants delegate to Defendant Dever the responsibility for final

policymaking authority concerning students at TNCC.

   37.   Defendant Dever is responsible for enactment, amendment, enforcement, execution,

and implementation of TNCC and VCCS policies, including the policies and practices

challenged herein.

   38.   Defendant Dever possesses the authority and responsibility for coordination and

approval of campus expression by students on campus.

   39.   All changes in campus policies concerning student expression are made only with the

prior approval of Defendant Dever.

   40. Defendant Dever has not instructed TNCC personnel to change or alter the policies and
practices governing student expression on campus to comply with constitutional mandates.

   41. As president, Defendant Dever has the authority to review, approve, or reject requests
to use campus facilities and grounds by students.

   42. Defendant Dever not only authorized, approved, or implemented the policies used to
restrict Mr. Parks' expression, but he also failed to stop any TNCC officials from applying those
policies to Mr. Parks.

   43. Defendant Dever is ultimately responsible for administration and policymaking at
TNCC.

   44.   Defendant Dever is sued in his individual and official capacities.

   45. Defendant Daniel Lufkin is, and was at all times relevant to this Complaint, Vice
President of Student Affairs at Thomas Nelson Community College.
   46.   One of Defendant Lufkin's responsibilities as Vice President of Student Affairs is to
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review and give final approval or disapproval to students' requests to engage in expression on

campus.

   47.    In executing his duty to review these requests, Defendant Lukfin implements VCCS

and TNCC policies and procedures regarding student expression on campus.

   48.    Defendant Lufkin participated in enforcing VCCS's and TNCC's policies and practices

regarding student expression on campus against Mr. Parks when he desired to speak publicly in

the open, outdoor areas of the TNCC campus.

   49.    Defendant Lufkin is sued in his individual and official capacities.

   50. Defendant Vicki Richmond is, and was at all times relevant to this Complaint,

Associate Vice President of Student Affairs at Thomas Nelson Community College.

   51.    One of Defendant Richmond's responsibilities as Associate Vice President of Student

Affairs is to review and give final approval or disapproval to students' requests to engage in
expression on campus.

   52.    In executing her duty to review these requests, Defendant Richmond implements VCCS

and TNCC policies and procedures regarding student expression on campus.

   53. Defendant Richmond enforced VCCS's and TNCC's policies and practices regarding
student expression on campus against Mr. Parks when he desired to speak publicly in the open,
outdoor areas of the TNCC campus.

   54. Defendant Richmond is sued in her individual and official capacities.
   55. Defendant Kadisia Archer is, and was at all times relevant to this Complaint, the
Coordinator of Student Activities at TNCC.

   56. As the Coordinator of Student Activities, Defendant Archer is charged with
responsibility for enforcing VCCS's and TNCC's policies and practices governing student
expression taking place within public facilities and on public property at the College.
   57. Defendant Archer is responsible for initially processing and approving students'
requests to engage in expression on campus before she presents them to Defendant Richmond for
final review and approval or denial.
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   58.     Defendant Archer enforced VCCS's and TNCC's policies and practices regarding

student expression on campus against Mr. Parks when he desired to speak openly in the outdoor

areas of the TNCC campus.

   59.     Defendant Archer is sued both in her individual and official capacities.

   60.     Defendant Kelvin Maxwell, is, and was at all times relevant to this Complaint, the

Chief of Campus Police at TNCC.

   61.     As Chief of Campus Police, Defendant Maxwell is charged with responsibility for

enforcing VCCS's and TNCC's policies and practices governing student expression taking place

within public facilities and on public property at the College.

   62.     Defendant Maxwell is sued both in his individual and official capacities.

   63.     Defendant Frank Johnson, is, and was at all times relevant to this Complaint, a law

enforcement officer for Campus Police at TNCC.

   64.     As a law enforcement officer, Defendant Johnson is charged with responsibility for

enforcing VCCS's and TNCC's policies and practices governing student expression taking place

within public facilities and on public property at the College.

   65. Defendant Johnson enforced VCCS's and TNCC's policies and practices regarding
student expression on campus against Mr. Parks when he desired to speak openly in the outdoor
areas of the TNCC campus.

   66.     Defendant Johnson is sued both in his individual and official capacities.

                                      Factual Background


   67. TNCC is a public community college organized and existing under the laws of the

Commonwealth of Virginia and receives funding from the Commonwealth of Virginia to
operate.

   68. TNCC is one of twenty-three community colleges in the Virginia Community College
System.

   69.     TNCC operates two campuses and a variety of regional learning centers.
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     70. TNCC's Hampton Campus is composed of various publicly-accessible buildings and

outdoor areas, including streets, sidewalks, open-air quadrangles, and park-like lawns. A copy of

the TNCC's Hampton Campus map is attached as Exhibit 1 to this Complaint. A Google Maps

satellite view of TNCC's Hampton Campus is attached as Exhibit 2 to this Complaint.

     71.    TNCC's Hampton Campus is located on 86.5 acres, which is approximately 3,767,940

square feet.

     72.    TNCC's Hampton Campus has many suitable streets, sidewalks, open-air quadrangles

and plazas, and park-like lawns where expressive activity will not interfere with or disturb the

College's educational environment or access to buildings or sidewalks.

     73.    As an institution in the VCCS, TNCC is governed by Defendant DuBois and the Board

Defendants.

     74.    As an institution in the VCCS, TNCC is governed by the policies that Defendant

DuBois and the Board Defendants enact, and TNCC officials—including Defendants Dever,

Lufkin, Richmond, and Archer—are tasked with enforcing, implementing, and executing those
policies.

I.   Defendants' Unconstitutional Policies

     A. Defendants' Campus Demonstration Policies


     75.    Defendants give TNCC officials unbridled discretion over whether, when, and where

students and student organizations may speak and express themselves in the outdoor areas of

campus.

     76. It is VCCS's policy that students and student organizations must register with their
community college's administration at least four days before engaging in speech or expression in
the outdoor areas of campus.

     77.    It is VCCS's policy that "[e]ach campus organization participating in a demonstration
must file three copies of the registration form (Table 6-1) in the office of the president of the
college for all demonstrations 4 days in advance of the demonstration." A copy of VCCS's
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policies regarding student development services, which are drawn from the VCCS Policy

Manual and which contain VCCS's policies regarding campus demonstrations on pages 6-17

through 6-19, are attached to this Complaint as Exhibit 3 (hereafter "Campus Demonstration

Policies"). See Ex. 3 at 019-021.

   78.    It is VCCS's policy that "[a]ll assemblies or demonstrations on the campus must have

prior registration with the office of the president of the college."

   79.    It is Defendants' policy and practice to apply these Campus Demonstration Policies to

individual students who want to speak to their peers in the open, outdoor areas of campus.

    80.   It is Defendants' policy and practice that only student organizations may engage in

expressive activities in the open outdoor areas of campus; individual students who are not

affiliated with a student organization may not do so, even if they register their activities with

community college officials at least four days in advance.

    81.   Defendants prohibit students and student organizations from engaging in expressive

activities in the open, outdoor areas of campus unless they first register their activities with

community college officials at least four days in advance.

    82.   Defendants prohibit individual students from engaging in expressive activities in the

open, outdoor areas of campus, even if they first register their activities with community college

officials at least four days in advance, unless they can also demonstrate that their activities are

affiliated with a student organization.

    83.   Neither VCCS nor TNCC posses any policies that set forth the criteria, factors, or

standards that community college officials must use in deciding whether to accept or reject

students' efforts to register their expressive activities.

    84. When students seek to register a speech event four days in advance, they must complete
a form identifying all student organizations that will participate in the event.

    85.   VCCS does not possess any policies that permit students or student organizations to

engage in expressive activities on campus without revealing their identities.

   86.    It is VCCS's policy that officials at its community colleges (including TNCC) have


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unbridled discretion to determine in which outdoor venues of campus students may engage in

expressive activities.

    87.   When students seek to register a speech event four days in advance, they must identify

the specific locations on campus (i.e., "exact area of demonstration") that they intend to use.

    88.   When students seek to register a speech event four days in advance, they must agree

that the "[pjrecise boundaries [of the event] shall be set by agreement among the College

administration, the organizations involved, and those in charge of any building specifically

involved."

    89.   Neither VCCS nor TNCC possess any policies that set forth the criteria, factors, or

standards that community college officials must use in deciding which areas of campus students

may use for expressive activities.

    90.   It is VCCS's policy that "[sjtudents ... who participate in ... a ... disorderly assembly

are subject to suspension or dismissal."

    91. It is Defendants' policy and practice that students who do not register their expressive
activity with community college officials at least four days in advance are engaged in a

disorderly or unauthorized assembly.

    92.   It is Defendants' policy and practice that students who are not affiliated with a student

organization and who seek to engage in expressive activities on campus are engaged in a
disorderly or unauthorized assembly, even if they attempt to register their expressive activities
with community college officials at least four days in advance.

    93. It is Defendants' policy and practice that students who do not limit their expressive
activities to the precise locations community college officials set forth in advance are engaged in
a disorderly or unauthorized activity.

    94.   VCCS's Campus Demonstration Policies were issued by Defendant DuBois or the

Board Defendants, and they have the authority to modify or rescind those policies.
   95.    Defendants' Campus Demonstration Policies contain no guidelines or standards to limit
the discretion of community college officials in granting, denying, relocating, or restricting

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requests by students to engage in expressive activity.

    96.   Defendants' Campus Demonstration Policies contain no deadlines or timetables in

which community college officials must respond to a permit request.

    97.   Defendants' Campus Demonstration Policies contain no options for community college

officials to waive the four-day notice requirement when students want to speak spontaneously in

response to recent or unfolding events.

    98.   Defendants' Campus Demonstration Policies provide no avenue for students to appeal

the space restrictions that community college officials impose on their expressive activities.

    B. Defendants' Student Code of Conduct


    99. TNCC implements VCCS's speech-restrictive Campus Demonstration Policies in part
through its Student Code ofConduct.

    100. It is TNCC's policy and practice to enforce VCCS's Campus Demonstration Policies

against its students.

    101. It is TNCC's policy that any student who fails to comply with its regulations and
guidelines regarding student expression violates the Student Code of Conduct.           A copy of
TNCC's Student Handbook 2013-2014, which includes the Student Code of Conduct on pages
48^19, is attached as Exhibit 4 to this Complaint. See Ex. 4 at 076-077.

    102. It is TNCC's policy that students who engage in behavior deemed a "violation" of the

Student Code ofConduct "will be subject to disciplinary action." See Ex. 4 at 076.

    103. One of the "violations" of TNCC's Student Code of Conduct is "[fjailure to comply
with the College regulations/guidelines on student expression and demonstration." See id.

    104. It is TNCC's policy—as expressed in the Student Code of Conduct—that students
wishing to engage in expression or demonstration on campus need to "contact the Vice president
for Student Affairs." See id.

    105. It is TNCC's policy that students who fail to comply with VCCS's Campus
Demonstration policies have violated the provision of the Student Code ofConduct that prohibits



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students from failing "to comply with the College regulations/guidelines on student expression

and demonstration."

   106. Another "violation" of TNCCs' Student Code of Conduct is "[violation of College

policies or regulations governing... use of College facilities." See id.

    107. It is TNCC's policy that students who fail to comply with VCCS's Campus

Demonstration Policies have violated "College policies or regulations governing ... use of

College facilities," under the Student Code ofConduct.

II. Defendants' Unconstitutional Silencing of Mr. Parks


    108. In September 2013, Mr. Parks decided that he needed to inform his fellow students and

other passersby of their need for salvation through Jesus Christ by preaching in the open, outdoor

areas of the TNCC campus.

    109. Mr. Parks desired to communicate his religious views to his fellow classmates and

instructors at TNCC.

    110. Mr. Parks desired to communicate his religious views to his fellow classmates and

instructors at TNCC because of his sincerely-held religious beliefs and because he practices his

religion by doing so.

    111. To communicate his views, Mr. Parks went to the outdoor courtyard area bordered by

Diggs Hall, Templin Hall, and Wythe Hall at TNCC's Hampton Campus (hereafter,
"Courtyard") and began preaching.

    112. Mr. Parks stood in a wide area that is open to public ingress and egress.
    113. The Courtyard resembles a public plaza with tables and benches distributed around a

wide, open area.

    114. Mr. Parks was careful to stand in an area of the Courtyard that would not block the
entrances and exits of any buildings, block pedestrian traffic, or create any congestion.
    115. Mr. Parks chose to utilize the Courtyard because it is a central location on TNCC's

Hampton Campus near the campus cafeteria, and thus, it is a hub of student traffic.



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    116. Many students linger in the Courtyard, eating or studying on the tables in the area or

visiting with each other on the benches in the area.

    117. When Mr. Parks preached in the Courtyard, he did not carry signs or utilize

amplification. He merely spoke, using his unaided voice, for about forty or forty-five minutes to

the students congregated in the area at the time.

    118. When Mr. Parks preached in the Courtyard, he did not utilize inflammatory rhetoric or

attack personally any individual.

    119. Instead, Mr. Parks began by discussing God's existence and attributes, particularly His

holiness and righteousness. From this, he then discussed how all men and women have fallen

short of God's commands.       And he concluded by explaining how Jesus Christ, whom the

prophets in the Old Testament had foretold, had come to earth to die on the cross and rise again

in order to provide men and women the only means of obtaining salvation and eternal life.

    120. In the fall of 2013, Mr. Parks preached twice to students in the Courtyard without

incident.

    121. The third time Mr. Parks preached to students in the Courtyard, three uniformed

officers from the TNCC Police Department—Defendant Johnson, Officer Patrick, and another

officer—confronted him.

    122. Defendant Johnson ordered Mr. Parks to cease preaching in the Courtyard.
    123. When Mr. Parks inquired why he must stop preaching, Defendant Johnson explained
that the content of his speech might offend someone.

    124. Mr. Parks informed Defendant Johnson of his First Amendment right to preach and
speak publicly on campus.

    125. Though Mr. Parks thought Defendant Johnson's order was unjust and unconstitutional,
he complied and ceased preaching.

    126. About a week later, Mr. Parks again attempted to preach in the Courtyard.
    127. While Mr. Parks was preaching, Defendant Johnson again confronted him.
    128. Defendant Johnson reminded Mr. Parks that Defendant Johnson had previously told

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him that he could not preach in the Courtyard.

   129. Mr. Parks again informed Defendant Johnson of his First Amendment right to preach

and speak publicly on campus.

    130. Defendant Johnson also told Mr. Parks that if he wanted to preach in the Courtyard, he

first needed to obtain permission from Defendant Archer.

   131. Mr. Parks again complied with Defendant Johnson's order to cease preaching.

   132. A few days later, Mr. Parks went to Defendant Archer's office to find out why he could

not preach in the Courtyard without first obtaining her permission.

    133. When Mr. Parks asked why he had been prevented from preaching, Defendant Archer

showed him a list of violations from TNCC's Student Code of Conduct.               The document

Defendant Archer showed Mr. Parks is attached to this Complaint as Exhibit 5.

   134. The document that Defendant Archer showed Mr. Parks contains most of the violations

listed in TNCC's Student Code of Conduct as found in Exhibit 4, with a few minor changes in

wording.

    135. When Mr. Parks asked which of the numerous violations listed in TNCC's Student

Code of Conduct required him to stop preaching, Defendant Archer directed his attention to the

provision addressing "[fjailure to comply with the College regulations/guidelines on student

expression and demonstrations."

   136. When Mr. Parks asked which regulations, guidelines, or policies he had violated,
Defendant Archer referred him to Defendant Richmond.

    137. Mr. Parks then visited Defendant Richmond's office.

    138. When Mr. Parks asked which regulations, guidelines, or policies prevented him from
preaching in the Courtyard, Defendant Richmond directed him to several policies.
   139. On information and belief, the policies Defendant Richmond showed Mr. Parks were

VCCS's Campus Demonstration Policies. See Ex. 4.

   140. After reading these policies, Mr. Parks argued that they did not prohibit him from
preaching in the Courtyard.


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     141. Mr. Parks' arguments failed to convince Defendant Richmond, who still insisted that

these policies required him to discontinue his preaching activities.

     142. But Defendant Richmond stated that Mr. Parks could not engage in public oral

communication or open-air preaching in the Courtyard or other open, outdoor areas of campus

without first registering his activities with TNCC officials four days in advance and submitting to

whatever space restrictions TNCC officials decide to impose.

     143. Defendant Richmond also informed Mr. Parks that, because of VCCS and TNCC

policies, he could not preach or engage in public oral communication in the Courtyard or other

open, outdoor areas of campus as an individual. Instead, he would first have to join a student

organization, and then that student organization could register Mr. Parks' expressive activities

with TNCC officials four days in advance.

     144. In early December 2013, Mr. Parks visited Defendant Richmond's office again, seeking

to discuss with her the policies that prevented him from preaching in the Courtyard.

     145. At that time, Defendant Richmond's secretary handed Mr. Parks a piece of paper, on

which was printed the internet link to the policies that prevented him from preaching in the

Courtyard. A copy of the paper that Defendant Richmond's secretary handed to Mr. Parks is

attached to this Complaint as Exhibit 6.

     146. On information and belief, Defendant Richmond instructed her secretary to deliver the

document contained in Exhibit 6 to Mr. Parks.

     147. The policies which Defendant Richmond linked in the document her secretary delivered

to Mr. Parks are VCCS's Campus Demonstration Policies, the same policies set forth in Exhibit

3.

     148. On information and belief, Defendant Richmond acted at Defendant Lufkin's direction

or with Defendant Lufkin's approval in informing Mr. Parks that VCCS and TNCC policies
prohibited him from preaching in the open, outdoor areas of campus unless he (1) joined a

student organization, (2) convinced the student organization to register his expressive activities
with TNCC officials at least four days in advance, and (3) submitted to whatever space


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restrictions TNCC officials decided to impose.

    149. Since meeting with Defendant Richmond, Mr. Parks has not attempted to preach or

engage in other expressive activities in the Courtyard or other open, outdoor areas of the TNCC

campus.

    150. Though he has not done so, Mr. Parks desires to resume his open-air preaching in the

Courtyard and other open, outdoor areas of campus at the earliest opportunity.

    151. Mr. Parks would like to continue preaching not only in the Courtyard, but also in other

open, outdoor areas of campus that are generally open to passersby.

    152. Mr. Parks desires to engage in peaceful expressive activities on campus—including oral

communication and literature distribution—without first registering his intent to do so four days

in advance and without agreeing to limit his activities to the locations TNCC officials specify,

but he has not done so for fear of punishment.

    153. Mr. Parks has not attempted to preach or engage in other expressive activities in the

Courtyard or other open, outdoor areas of the TNCC campus because numerous TNCC officials,

including Defendants, have told him that doing so would violate VCCS and TNCC policies.
Thus, he risks disciplinary action if he persists in preaching.

    154. TNCC and VCCS policies state that Mr. Parks would expose himself to a range of
disciplinary actions, including suspension or dismissal, if he continued to preach in the open,
outdoor areas of the TNCC campus without first obtaining administrative permission.

    155. Defendants' enforcement of VCCS's Campus Demonstration Policies and related

provisions of TNCC's Student Code of Conduct against Mr. Parks burdens his speech for
multiple reasons.

    156. Mr. Parks wants to preach and discuss religious issues while he stands on public ways
and open areas on TNCC's Hampton Campus without first having to notify TNCC officials and
without having to abide by any location restrictions they choose to impose.

    157. Mr. Parks' speech is further frustrated because he cannot preach or speak publicly at
TNCC until he first registers his activities with TNCC officials and then restricts his activities to


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the locations they specify.

    158. Mr. Parks' speech is further frustrated because he cannot preach or speak publicly at

TNCC until he first joins a student organization and persuades that organization to register his

activities with TNCC officials.

    159. The registration requirement, in and of itself, is unduly burdensome as it requires four

days advanced notice for processing.

    160. The registration requirement means that Mr. Parks may not engage in spontaneous or

anonymous speech on campus.

    161. It is repugnant to Mr. Parks that he, as an individual citizen and student at a public

community college, must notify the government in order to speak on campus when he feels

convicted by his religious faith to speak and preach on campus.

    162. Mr. Parks also likes to spread his message about religion in reaction to current events.

    163. Mr. Parks and all students at TNCC (and other VCCS institutions) require the ability to

speak spontaneously in reaction to news. And yet, VCCS's Campus Demonstration Policies and

the related provisions of TNCC's Student Code of Conduct prohibit such spontaneous speech

because they force Mr. Parks to obtain a permit prior to speaking.

    164. Mr. Parks is bound to comply with the terms of VCCS's Campus Demonstration

Policies and TNCC's Student Code ofConduct at all times on campus.

    165. Mr. Parks is not preaching or publicly discussing religious topics on campus due to

VCCS's Campus Demonstration Policies, the related provisions of TNCC's Student Code of
Conduct, and Defendants' enforcement of those policies against him.

    166. Mr. Parks is chilled in his ability to preach and discuss religious topics on campus due
to VCCS's Campus Demonstration Policies, the related provisions of TNCC's Student Code of
Conduct, and Defendants' enforcement of those policies against him.

    167. If not for VCCS's Campus Demonstration Policies, the related provisions of TNCC's
Student Code of Conduct, and the actions of Defendants, Mr. Parks would immediately return to
the open, outdoor areas of the TNCC campus and preach and discuss religious topics with fellow


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students and passersby.

    168. Mr. Parks refrains for fear of punishment under VCCS's Campus Demonstration

Policies and the related provisions of TNCC's Student Code ofConduct.

    169. The fear of arrest or punishment severely limits Mr. Parks' constitutionally-protected

expression on campus.

                                     Allegations of Law


    170. At all times relevant to this Complaint, each and all of the acts alleged herein were

attributed to the Defendants who acted under color of a statute, regulation, custom, or usage of

the Commonwealth of Virginia.

    171. Defendants knew or should have known that by disallowing Mr. Parks' expressive

activity on campus without him obtaining prior permission, and restricting his speech to zones

determined by TNCC officials in their unbridled discretion, Defendants are violating his

constitutional rights.

    172. Mr. Parks is suffering irreparable harm from the policies and practices of Defendants

which cannot be fully compensated by an award of money damages.

    173. Mr. Parks has no adequate or speedy remedy at law to correct or redress the deprivation

of his rights by Defendants.

    174. Defendants' actions and policies, as set forth above, do not serve any legitimate or
compelling state interest.

    175. Defendants have deprived, and continue to deprive, Plaintiff of his clearly established
rights under the United States Constitution, as set forth in the causes of action below.

    176. Unless the policies and conduct of Defendants are enjoined, Mr. Parks will continue to
suffer irreparable injury.

    177. Pursuant to 42 U.S.C. §§ 1983 and 1988, Mr. Parks is entitled to appropriate relief
invalidating VCCS's unconstitutional Campus Demonstration Policies and related provisions of
TNCC's Student Code ofConduct.
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                                      First Cause of Action
            Violation of Plaintiffs First Amendment Right to Freedom of Speech
                                       (42 U.S.C. § 1983)

    178. Plaintiff repeats and realleges each of the allegations contained in paragraphs 1-177 of

this Complaint, as if set forth fully herein.

    179. Speech, including public oral expression, is entitled to comprehensive protection under

the First Amendment.

    180. Religious speech—including public preaching—is also fully protected by the First

Amendment.

    181. The First Amendment rights of free speech and press extend to campuses ofstate colleges.

    182. The sidewalks and open spaces of the TNCC campus are designated public fora—if not

traditional public fora—for speech and expressive activities by students enrolled at TNCC.

    183. The First Amendment's Free Speech Clause, incorporated and made applicable to the

states by the Fourteenth Amendment to the United States Constitution, prohibits content and

viewpoint discrimination in the public forums for student speech and expression on the campus

of a public college.

    184. A public college's ability to restrict speech—particularly student speech—in a public

forum is limited.

    185. The First Amendment's Free Speech Clause prohibits censorship of religious expression.

    186. The First Amendment prohibits the government from prohibiting or limiting speech

because it might offend the sensibilities of listeners, and any governmental attempts to do so are

inherently content and/or viewpoint based.

    187. Under the First Amendment's Free Speech Clause, a prior restraint on citizens'

expression is presumptively unconstitutional, unless it (1) does not delegate overly broad
licensing discretion to a government official, (2) contains only content and viewpoint neutral

reasonable time, place, and manner restrictions, (3) is narrowly tailored to serve a significant

governmental interest, and (4) leaves open ample alternative means for communication.

    188. Thus, the government may not regulate speech based on policies that permit arbitrary,


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discriminatory, or overzealous enforcement.

    189. Unbridled discretion to discriminate against speech based on its content or viewpoint
violates the First Amendment regardless of whether that discretion has ever been

unconstitutionally applied in practice.

    190. The First Amendment's Free Speech Clause guarantees a citizen the right to express his
views anonymously and spontaneously.

    191. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and their practice of requiring students to register their expressive activities

with college officials and of restricting student speech to ad hoc speech zones violate the First
Amendment facially and as applied because they are a prior restraint on speech in areas of

campus that are traditional or designated public fora for TNCC students.

    192. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and their practice of requiring students to register their expressive activities

with college officials and of restricting student speech to ad hoc speech zones violate the First

Amendment facially and as applied because they grant College officials unbridled discretion to

discriminate against speech based on its content or viewpoint.

    193. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code ofConduct, and their practice of allowing only student organizations to register expressive

activities with college officials violate the First Amendment facially and as applied because they

prohibit students who are not affiliated with a student organization from engaging in any
expressive activities on campus.

    194. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and their practice of requiring students to register their expressive activities

with college officials and of restricting student speech to ad hoc speech zones violate the First

Amendment facially and as applied because they are vague and overbroad.

    195. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices that require students to register a proposed expressive


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activity at least four days in advance and that limit the activity to certain ad hoc speech zones are

an unconstitutional "time," "place," and "manner" restrictions that violate Plaintiffs and other

students' right to freedom of speech and expression because they are not content-neutral, they
are not narrowly tailored to serve a significant government interest, and they do not leave open

ample alternative channels of communication.

    196. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code ofConduct, and their practices of allowing only student organizations to register expressive

activities with college officials are an unconstitutional "time," "place," and "manner" restrictions

that violate Plaintiffs and other students' right to freedom of speech and expression because they

prohibit students who are not affiliated with a student organization from engaging in any

expressive activities on campus.

    197. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices provide no guidelines or standards to limit the

discretion of TNCC officials (or officials at other VCCS institutions) in granting, denying,

relocating, or restricting requests by students to engage in expressive activity.

    198. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices require students to register proposed expressive

activities with Defendants and then delegate authority to Defendants to determine where students

may engage in these expressive activities, thus giving Defendants unbridled discretionary power

to limit student speech in advance of such expression on campus and to do so based on the

content and viewpoint of the speech.

    199. These grants of unbridled discretion to TNCC officials violate the First Amendment

because they create a system in which speech is reviewed without any standards, thus giving

students no way to prove that a denial, restriction, or relocation of their speech was based on

unconstitutional considerations.

   200. The First Amendment's prohibition against content and viewpoint discrimination

requires Defendants to provide adequate safeguards to protect against the improper exclusion,


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restriction, or relocation of student speech based on its content or viewpoint.

   201. Because Defendants have failed to establish neutral criteria governing the granting,

denial, or relocation of student speech applications (including requests to use campus facilities),

there is a substantial risk that TNCC officials will engage in content and viewpoint

discrimination when addressing those applications.

   202. Defendants exercised the unbridled discretion granted them under VCCS's Campus

Demonstration Policies, the related provisions of TNCC's Student Code of Conduct, and

associated practices when they prohibited Plaintiff from preaching in the open, outdoor areas of

campus without first registering his activities with TNCC officials.

   203. VCCS's Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices do not contain any definite time period in which

TNCC officials must grant or deny students' requests to engage in expressive activities.

   204. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices that require prior approval to speak prohibit students

from anonymously communicating with passersby.

   205. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices that require four days advanced notice to speak

prohibit spontaneous expression.

   206. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices are neither reasonable nor valid time, place, and

manner restrictions on speech because they are not content-neutral, they are not narrowly tailored

to serve a significant government interest, and they do not leave open ample alternative channels
of communication.

   207. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices are also overbroad because they prohibit and restrict

protected expression.

   208. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student


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Code of Conduct, and associated practices unconstitutionally censor or restrict all private speech

(including, but not limited to, literature distribution) that occurs outside the speech zones that

Defendants, in their unbridled discretion, designate, and they require students to register all

expressive activities with Defendants in advance.

   209. The overbreadth of Defendants' policies and related practices chills the speech of

students not before the Court who seek to engage in private expression (including preaching and

public speaking) in the open, outdoor area of campus.

   210. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices chill, deter, and restrict Plaintiff from freely

expressing his religious beliefs.

   211. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices do not satisfy strict scrutiny because they support no

compelling governmental interest and they are not narrowly tailored to meet any such concerns.

   212. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices violate Plaintiffs right to free speech as guaranteed

by the First Amendment to the United States Constitution.

   213. Because of Defendants' actions, Plaintiff has suffered, and continues to suffer

irreparable harm. He is entitled to an award of monetary damages and equitable relief.

   214. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to a declaration that

Defendants violated his First Amendment right to freedom of speech and an injunction against
Defendants' policy and actions. Additionally, Plaintiff is entitled to damages in an amount to be
determined by the evidence and this Court and the reasonable costs of this lawsuit, including his
reasonable attorneys' fees.

                                    Second Cause of Action
        Violation of Plaintiffs Fourteenth Amendment Right to Due Process of Law
                                       (42 U.S.C. § 1983)
   215. Plaintiff repeats and realleges each of the allegations contained in paragraphs 1-177 of



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this Complaint, as if set forth fully herein.

   216. The Fourteenth Amendment to the United States Constitution guarantees Plaintiff the

right to due process of law and prohibits Defendants from promulgating and employing vague

and overbroad standards that allow for viewpoint discrimination in Defendants' handling of

Plaintiffs preaching and speaking.

   217. The government may not regulate speech based on overbroad policies that encompass a

substantial amount of constitutionally protected speech.

   218. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices prohibit a substantial amount of constitutionally

protected speech in that they prohibit students who are not affiliated with a student organization

from engaging in any expressive activities on campus.

   219. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices prohibit a substantial amount of constitutionally

protected speech in that they prohibit students from engaging in expressive activities in the

public fora of campus unless they have registered their activities with community college

officials at least four days in advance and submitted to whatever ad hoc speech zones those

officials decided to impose.

   220. The government may not regulate speech based on policies that permit arbitrary,

discriminatory, and overzealous enforcement.

   221. The government may not regulate speech based on policies that cause persons of

common intelligence to guess at their meaning and differ as to their application.

    222. The government also may not regulate speech in ways that do not provide persons of

common intelligence fair warning as to what speech is permitted and what speech is prohibited.

    223. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices contain no criteria to guide administrators when

deciding whether to grant, deny, relocate, or restrict student speech (including preaching and

public speaking) on campus.


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    224. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices are impermissibly vague and ambiguous and are thus

incapable of providing meaningful guidance to Defendants.

    225. The lack of criteria, factors, or standards in Defendants' Campus Demonstration

Policies, the related provisions of TNCC's Student Code of Conduct, and associated practices

renders these policies and practices unconstitutionally vague and in violation of Plaintiffs right

to due process of law under the Fourteenth Amendment.

    226. Because of Defendants' actions, Plaintiff has suffered, and continues to suffer

irreparable harm. He is entitled to an award of monetary damages and equitable relief.

    227. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to a declaration that

Defendants violated his Fourteenth Amendment right to due process of law and an injunction

against Defendants' policy and actions.         Additionally, Plaintiff is entitled to damages in an

amount to be determined by the evidence and this Court and the reasonable costs of this lawsuit,

including his reasonable attorneys' fees.

                                     Third Cause Of Action
                   Violation of Plaintiffs Right to Free Exercise of Religion
                                     (Va. Code § 57-2.02)

    228. Plaintiff repeats and realleges each of the allegations contained in paragraphs 1-177 of

this Complaint, as if set forth fully herein.

    229. Virginia's Religious Freedom Restoration Act, Va. Code § 57-2.02, prohibits the

government from "substantially burdening] a person's free exercise of religion even if the

burden results from a rule of general applicability unless it is (i) essential to further a compelling

governmental interest and (ii) the least restrictive means of furthering that compelling

governmental interest."

    230. Defendants apply VCCS's Campus Demonstration Policies and the related provisions

of TNCC's Student Code of Conduct in a way that substantially burdens Plaintiffs free exercise

of religion.



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   231. Plaintiff desires to share his religious views with his peers on campus based on his

sincerely-held religious beliefs and because he desires to exercise his religion.

   232. Defendants substantially burdened Plaintiffs free exercise of religion by applying
VCCS's Campus Demonstration Policies and the related provisions of TNCC's Student Code of

Conduct to prohibit Plaintiff from sharing his religious views anywhere on campus without first
registering his activities with TNCC officials at least four days in advance and then submitting to

whatever ad hoc speech zones TNCC officials decided to impose.

   233. Defendants substantially burdened Plaintiffs free exercise of religion by applying

VCCS's Campus Demonstration Policies and the related provisions of TNCC's Student Code of

Conduct to prohibit Plaintiff from sharing his religious views anywhere on campus without first

joining a student organization and persuading that organization to register his religious

expressive activities with TNCC officials.

   234. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and associated practices cannot be justified by a compelling state interest and

are not narrowly tailored to advance any such interest.

   235. Defendants' Campus Demonstration Policies, the related provisions of TNCC's Student

Code of Conduct, and related practices violate Plaintiffs right to free exercise of religion as
guaranteed by the Virginia Religious Freedom Restoration Act.

   236. Because of Defendants' actions, Plaintiff has suffered, and continues to suffer

irreparable harm. He is entitled to an award of declaratory and injunctive relief.

   237. Pursuant to Virginia Code § 57-2.02, Plaintiff is entitled to a declaration that

Defendants violated his right to free exercise of religion and an injunction against Defendants'

policy and actions. Additionally, Plaintiff is entitled to the reasonable costs of this lawsuit,

including his reasonable attorneys' fees.

                                       Prayer for Relief


   Wherefore, Plaintiff respectfully requests that this Court enter judgment against Defendants



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and provide Plaintiff with the following relief:

   (A) A declaratory judgment that the Defendants' Campus Demonstration Policies, the

         related provisions of TNCC's Student Code of Conduct, and associated practices,

         facially and as-applied, violate Plaintiffs rights under the First Amendment and the

         Virginia Religious Freedom Restoration Act;

   (B) A declaratory judgment that the Defendants' Campus Demonstration Policies, the

         related provisions of TNCC's Student Code of Conduct, and associated practices,

         facially and as-applied, violate Plaintiffs rights under the Fourteenth Amendment and

         the Virginia Religious Freedom Restoration Act;

   (C)   A declaratory judgment that the Defendants' restriction of Plaintiffs open-air

         preaching and speaking violated Plaintiffs rights under the First and Fourteenth

         Amendments and the Virginia Religious Freedom Restoration Act;

   (D) A preliminary and permanent injunction prohibiting the Defendants, their agents,

         officials, servants, employees, and any other persons acting in their behalf from

         enforcing VCCS's Campus Demonstration Policies, the related provisions of TNCC's

         Student Code ofConduct, and associated practices challenged in this Complaint;

   (E)   Compensatory and nominal damages for the violation of Plaintiffs First and Fourteenth

         Amendment rights;

   (F)   Plaintiffs reasonable attorneys' fees, costs, and other costs and disbursements in this

         action pursuant to 42 U.S.C. § 1988 and Va. Code § 57-2.02; and

   (G) All other further relief to which Plaintiff may be entitled.




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   Respectfully submitted               "March. 2014.


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                                                filed.

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                           Declaration Under Penalty of Perjury

     1, Christian Parks, a citizen of the United States and a resident of the Commonwealth of

  Virginia, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing
  is true and correct to the best of my knowledge.

     Executed this _0    day of March, 2014, at Chesapeake, Virginia.


                                                       UlnisXt^/n TanMb*
                                                      Christian Parks




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